                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                           Case No.: 5:18-CR-317-1FL



                             )
UNITED STATES OF AMERICA     )
                             )
                             )                             NOTICE OF APPEAL
           V.
                             )
JEREME EUGENE MACKEY         )
                  Defendant. )


       Pursuant to Rule4(b) of the Federal Rules of Appellate Procedure, NOTICE IS
HEREBY GIVEN that the defendant, Jereme Eugene Mackey, appeals to the Fourth
Circuit Court of Appeals from the judgment entered in this Court in the above-captioned
case. Judgment was announced August 7, 2019 and docketed on August 8, 2019, by the
Honorable Louise Flanagan, this notice is therefore filed within the time specification
established in Rule 4(b).
       Additionally, for informational purposes and as requested by the Fourth Circuit
Clerk’s Office, the undersigned will file a motion to withdraw as counsel immediately
upon the docketing of this appeal in the Fourth Circuit.


       Respectfully submitted this 15th day of August, 2019.

                                                     /s/ Frank Harper, II
                                                     FRANK HARPER, II
                                                     Attorney for Defendant
                                                     Everett & Hite, L.L.P.
                                                     200 South Washington Street
                                                     Greenville, NC 27834
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                                                     NC State Bar No. 27561
                                                     CJA Appointed




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                          UNITED STATES DISTRICT COURT
                             CERTIFICATE OF SERVICE


        This is to certify that I am, and was at all times hereinafter mentioned, more than
eighteen (18) years of age, that on the 15th day of August, 2019, I electronically filed this
Notice of Appeal with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

                                               Nick Regalia
                                               Assistant United States Attorney
                                               310 New Bern Avenue, Suite 800
                                               Raleigh NC 27601-1461

       This the 15th day of August, 2019.

                                                      /s/Frank Harper, II
                                                      FRANK HARPER, II
                                                      Attorney for Defendant
                                                      200 South Washington Street
                                                      Greenville, NC 27834
                                                      252-758-4257
                                                      252-758-9282 (fax)




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